               Case 23-11160-abl      Doc 135     Entered 06/21/23 17:12:59        Page 1 of 19



 1   Terri H. Didion, Assistant United States Trustee
     State Bar No. CA 133491
 2   Jared A. Day, Trial Attorney
 3   State Bar No. CA 275687
     UNITED STATES DEPARTMENT OF JUSTICE
 4   Office of the United States Trustee
     300 Las Vegas Boulevard South, Suite 4300
 5   Las Vegas, Nevada 89101
 6   Telephone: (775) 784-5530
     Fax: (775) 784-5531
 7   E-mail: jared.a.day@usdoj.gov
 8   Attorneys for the United States Trustee for Region 17
 9   TRACY HOPE DAVIS

10                               UNITED STATES BANKRUPTCY COURT

11                                        DISTRICT OF NEVADA
      In re:
12                                                       Case No: 23-11160-abl
13    BANDAR ENTERPRISES, LLC,
                                                         Chapter 11
14                                                       Date: July 26, 2023
                                        Debtor.          Time: 1:30 p.m.
15
                                                         Place: Telephonic
16
17        NOTICE OF HEARING ON MOTION OF THE UNITED STATES TRUSTEE
           UNDER 11 U.S.C. § 1112(b) AND FEDERAL RULES OF BANKRUPTCY
18
        PROCEDURE 1017(f) AND 9014 TO DISMISS OR CONVERT CHAPTER 11 CASE
19
               PLEASE TAKE NOTICE that on the above-stated date and time, the United States
20
     Bankruptcy Court will hear the Motion of the United States Trustee, Pursuant to 11 U.S.C. §
21
22   1112(b) and Federal Rules of Bankruptcy Procedure 1017(f) and 9014, to Dismiss or Convert

23   Chapter 11 Case telephonically.
24
               The motion seeks dismissal or conversion of the above-captioned chapter 11 case to
25
     chapter 7. The call-in information for the hearing regarding this matter is located on the Court’s
26
     website: https://www.nvb.uscourts.gov/calendars/court-calendars/.
27
28             Oppositions to the motion, if any, must be filed and service must be completed on the

     United States Trustee no later than 14 days before the hearing date on the motion. The

     opposition must set forth all relevant facts and any relevant legal authority. To the extent an
            Case 23-11160-abl          Doc 135   Entered 06/21/23 17:12:59        Page 2 of 19




 1   opposition raises a question of fact for resolution by the Court or includes documented exhibits,
 2   such an opposition must be supported by affidavit or declaration that conforms to the provisions
 3
     of LBR 9014(c).
 4
            The opposition must be served upon the United States Trustee at 300 Booth Street, Room
 5
 6   3009, Reno, Nevada 89509. A copy of the motion may be obtained by requesting a copy in

 7   writing from the Office of the United States Trustee at the same address.
 8         If you object to the relief requested, you must file a WRITTEN response to this
 9         pleading with the Court. You must also serve your written response on the person
10         who sent you this notice.
11         If you do not file a written response with the Court, or if you do not serve your

12         written response on the person who sent you this notice, then:

13            x          The court may refuse to allow you to speak at the scheduled hearing;
                  and
14
              x          The court may rule against you without formally calling the matter at
15
                         the hearing.
16
17          Date: June 21, 2023                            Respectfully Submitted,
18                                                         TRACY HOPE DAVIS
19                                                         UNITED STATES TRUSTEE

20                                                 By:     /s/ Jared A. Day
                                                           Jared A. Day
21                                                         Attorney for the United States Trustee
22
23
24
25
26
27
28

                                                    Page -2-
             Case 23-11160-abl       Doc 135      Entered 06/21/23 17:12:59        Page 3 of 19




 1                                     CERTIFICATE OF SERVICE
 2   I, ANABEL ABAD SANTOS, under penalty of perjury declare: That declarant is, and was when
 3   the herein described service took place, a citizen of the United States, over 18 years of age, and not
     a party to nor interested in, the within action; that on June 21, 2023, I caused a copy of the
 4   foregoing
 5   NOTICE OF HEARING ON MOTION OF THE UNITED STATES TRUSTEE, UNDER 11
 6   U.S.C. § 1112(b), AND FEDERAL RULES OF BANRUPTCY PROCEDURE 1017(f) AND
     9014, TO DISMISS OR CONVERT CHAPTER 11 CASE
 7
     to be served on the following parties:
 8
 9   ㍪
     ㍩
     ㍨       a. ECF System (attach Notice of Electronic Filing or list of persons & addresses):

10       x   PAUL N. ANDONIAN pandonian@hrhlaw.com
         x   OGONNA M. BROWN obrown@lewisroca.com, ogonna-brown-
11
             4984@ecf.pacerpro.com,dberhanu@lewisroca.com,ombcalendar@lewisroca.com;jhess@le
12           wisroca.com,klopez@lewisroca.com,rcreswell@lewisroca.com
         x   ANDREW CUMMINGS andrew.cummings@hklaw.com
13       x   LARS EVENSEN lkevensen@hollandhart.com,
             blschroeder@hollandhart.com;intaketeam@hollandhart.com
14
         x   JOHN A FORTIN jfortin@mcdonaldcarano.com,
15           kkirn@mcdonaldcarano.com,bgrubb@mcdonaldcarano.com
         x   MICHAEL M. LIN LINLAWGROUP@GMAIL.COM,
16           linmr91809@notify.bestcase.com
         x   NATHAN F. SMITH nathan@mclaw.org, C201@ecfcbis.com
17
         x   U.S. TRUSTEE - LV - 11 USTPRegion17.lv.ecf@usdoj.gov
18       x   JOSEPH G. WENT jgwent@hollandhart.com,
             blschroeder@hollandhart.com;IntakeTeam@hollandhart.com
19       x   RYAN J. WORKS rworks@mcdonaldcarano.com,
             kkirn@mcdonaldcarano.com;bgrubb@mcdonaldcarano.com
20
         x   MATTHEW C. ZIRZOW mzirzow@lzlawnv.com,
21           carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;valentina@lzlawnv.com;z
             irzow.matthewc.r99681@notify.bestcase.com
22
23   ㍪
     ㍩
     ㍨       b. U.S. Mail, postage fully prepaid (see separate BNC Certificate of Service):

24   I declare under penalty of perjury that the foregoing is true and correct.
25   Signed: June 21, 2023
26
     /s/ Anabel Abad Santos
27   Anabel Abad Santos
28

                                                    Page -3-
                  Case 23-11160-abl       Doc 135
                                              133      Entered 06/21/23 17:12:59
                                                                        16:14:52        Page 4
                                                                                             1 of 19
                                                                                                  12



 1   Terri H. Didion, Assistant United States Trustee
     State Bar No. CA 133491
 2   Jared A. Day, Trial Attorney
 3   State Bar No. CA 275687
     UNITED STATES DEPARTMENT OF JUSTICE
 4   Office of the United States Trustee
     300 Las Vegas Boulevard South, Suite 4300
 5   Las Vegas, Nevada 89101
 6   Telephone: (775) 784-5530
     Fax: (775) 784-5531
 7   E-mail: jared.a.day@usdoj.gov
 8   Attorneys for the United States Trustee for Region 17
 9   TRACY HOPE DAVIS

10                                  UNITED STATES BANKRUPTCY COURT

11                                            DISTRICT OF NEVADA
         In re:
12                                                            Case No: 23-11160-abl
13       BANDAR ENTERPRISES, LLC,
                                                              Chapter 11
14                                                            Date: July 26, 2023
                                            Debtor.           Time: 1:30 p.m.
15
                                                              Place: Telephonic
16
17                     MOTION OF THE UNITED STATES TRUSTEE UNDER 11 U.S.C.
                     § 1112(b) AND FEDERAL RULES OF BANKRUPTCY PROCEDURE
18
                      1017(f) AND 9014 TO DISMISS OR CONVERT CHAPTER 11 CASE
19
                  Tracy Hope Davis, United States Trustee for Region 17 (the “United States Trustee”), by
20
     and her undersigned counsel, hereby brings this Motion of the United States Trustee, Pursuant to
21
22   11 U.S.C. § 1112(b) and Federal Rules of Bankruptcy Procedure 1017(f) and 9014, to Dismiss

23   or Convert Chapter 11 Case (“Motion”). 1
24
                                                  INTRODUCTION
25
                  “Cause” exists to dismiss or convert this case to chapter 7 for several reasons. First,
26
     Debtor has not filed its required schedules and statements to date, and the most recently extended
27
28   deadline to do so expired without further extension. Second, Debtor has not provided any


     1 Hereafter, all references to “section” in the Motion are to provisions of the Bankruptcy Code, 11
     U.S.C. section 101 et. seq., unless otherwise indicated. All references to “Fed. R. Bankr. P.” are to
     the Federal Rules of Bankruptcy Procedure.
            Case 23-11160-abl        Doc 135
                                         133     Entered 06/21/23 17:12:59
                                                                  16:14:52         Page 5
                                                                                        2 of 19
                                                                                             12




 1   information and documentation reasonably requested by the United States Trustee for the Initial
 2   Debtor Interview (“IDI”) after repeated demands and failed to appear for the IDI scheduled by
 3
     the United States Trustee. Third, although Debtor appeared for the first two settings of the 11
 4
     U.S.C. § 341(a) first meeting of creditors, its designated responsible individual failed to appear
 5
 6   for the most recent setting on June 9, 2023. And finally, Debtor has not filed its first two

 7   monthly operating reports (“MOR”) for the months of April and May 2023, leaving the United
 8   States Trustee, creditors, and parties in interest unable to determine Debtor’s monthly
 9
     disbursements and financial condition. For these reasons, the United States Trustee has
10
     established cause to dismiss or convert this case under section 1112(b).
11
12          The Motion is based upon the entire record in this case, the following memorandum of

13   points and authorities, and the Declaration of United States Trustee Bankruptcy Analyst Kristine
14   R. Kinne (“Kinne Decl.”).
15
                         MEMORANDUM OF POINTS AND AUTHORITIES
16
            I.      BACKGROUND FACTS AND PROCEDURAL POSTURE
17
18          1.      On March 28, 2023, Debtor commenced the above-captioned Subchapter V case

19   by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. ECF No. 1.
20   Debtor amended its petition (“Petition”) on April 18, 2023. See ECF No. 38. Debtor is
21
     represented by Matthew C. Zirzow of Larson & Zirzow, LLC. Id.
22
            2.      No Official Committee of Unsecured Creditors has been solicited or appointed by
23
24   the United States Trustee in this case because 11 U.S.C. § 1102(a)(3) provides that one should

25   not be appointed in a small business case “[u]nless the Court for cause orders otherwise.”
26
27
28

                                                    Page -2-
            Case 23-11160-abl        Doc 135
                                         133      Entered 06/21/23 17:12:59
                                                                   16:14:52         Page 6
                                                                                         3 of 19
                                                                                              12




 1          3.      The first meeting of creditors under 11 U.S.C. § 341(a) was scheduled for April
 2   27, 2023, continued several times, and is presently continued to June 30, 2023. See ECF Docket
 3
     generally.
 4
            4.      Although Debtor filed two motions to extend the deadline to file its required
 5
 6   schedules and statements, the Court’s most recently extended deadline of May 16, 2023, expired,

 7   and Debtor has still not filed the required schedules and statements to date. Id.
 8          5.      Debtor filed several first day motions in this case, the hearings for which are
 9
     presently continued to July 7, 2023. Id.
10
            6.      Debtor failed to provide any information and documentation reasonably requested
11
12   by the United States Trustee in anticipation of the IDI, appear for the initial IDI scheduled for

13   April 13, 2023, or appear for the continued IDI scheduled for May 15, 2023, in this case. See
14   Kinne Decl.
15
            7.      Although Debtor’s representative appeared for the first two settings of the first
16
     meeting of creditors in this case, its designated responsible individual failed to appear for the
17
18   most recent setting on June 9, 2023. Id.

19          8.      Debtor has not filed its first two MORs in this case for April and May 2023,
20   leaving the United States Trustee, creditors, and parties in interest unable to determine Debtor’s
21
     monthly disbursements and financial condition. See ECF Docket generally.
22
            II.     JURISDICTION AND VENUE
23
24          9.      The Bankruptcy Court has jurisdiction over this bankruptcy case under 28 U.S.C.

25   §§ 1334(a), 1334, and 157(b).
26          10.     The United States Trustee brings this Motion pursuant to her statutory duty to
27
     monitor bankruptcy cases under 28 U.S.C. § 586(a)(3).
28

                                                     Page -3-
            Case 23-11160-abl        Doc 135
                                         133     Entered 06/21/23 17:12:59
                                                                  16:14:52         Page 7
                                                                                        4 of 19
                                                                                             12




 1          11.     The United States Trustee has standing to prosecute this Motion under 11 U.S.C.
 2   §§ 307 and 1112 along with Fed. R. Bankr. P. 1017 and 9014.
 3
            12.     Venue of this case and the contested matter presented by the Motion are proper in
 4
     this district under 28 U.S.C. §§ 1408 and 1409.
 5
 6          III.    ARGUMENT

 7          13.     11 U.S.C. § 1112(b)(1) provides that:
 8                  Except as provided in paragraph (2) and subsection (c), on request . . . the
 9                  court shall convert a case under this chapter to a case under chapter 7 or
                    dismiss a case under this chapter, whichever is in the best interests of
10                  creditors and the estate, for cause unless the court determines that the
                    appointment under section 1104(a) of a trustee or an examiner is in the best
11                  interests of creditors and the estate.
12
            14.     Section 1112(b) includes a non-exclusive list of what constitutes “cause,” and the
13
     court may “consider other factors as they arise, and [] use its equitable power to reach the
14
15   appropriate result . . . .” In re Consol. Pioneer Mortg. Entities, 248 B.R. 368, 375 (B.A.P. 9th

16   Cir. 2000) aff’d, 264 F.3d 803 (9th Cir. 2001). The list of examples of “cause” in section
17   1112(b) “is non-exhaustive and the Bankruptcy Court ha[s] discretion to also consider case-
18
     specific factors in its analysis.” In re Saber, 527 F. Supp. 3d 1196, 1199 (C.D. Cal. 2021). See
19
     also In re Consol. Pioneer Mortg. Entities, 248 B.R. at 375 (noting that “[a] bankruptcy court is
20
21   given wide discretion to convert a chapter 11 case to chapter 7 for ‘cause’”).

22          15.     As movant, the United States Trustee bears the burden of establishing by a
23   preponderance of the evidence that cause exists. Sullivan v. Harnisch (In re Sullivan), 522 B.R.
24
     604, 614 (B.A.P. 9th Cir. 2014) (citation omitted). Where reorganization or rehabilitation is
25
     unrealistic or futile, a chapter 11 case may be converted or dismissed even at its outset. Johnston
26
27   v. Jem Dev. Co. (In re Johnston), 149 B.R. 158, 162 (B.A.P. 9th Cir. 1992). And, if a bankruptcy

28   court determines that there is cause to convert or dismiss, it must also: (1) decide whether

                                                    Page -4-
            Case 23-11160-abl         Doc 135
                                          133      Entered 06/21/23 17:12:59
                                                                    16:14:52         Page 8
                                                                                          5 of 19
                                                                                               12




 1   conversion or dismissal is in the best interests of creditors and the estate; and (2) identify whether
 2   there are unusual circumstances that establish that conversion or dismissal is not in the best
 3
     interests of creditors and the estate. In re Sullivan, 522 B.R. at 612.
 4
            A.      Cause exists under 11 U.S.C. §§ 1112(e) and (b)(4)(H) because Debtor has
 5                  failed to timely file its required schedules and statements or provide
 6                  information and/or attend meetings reasonably requested by the United States
                    Trustee.
 7
            16.     Debtor’s failure to file its required schedules and statements within fifteen (15)
 8
 9   days after the filing of the Petition constitutes statutory cause to dismiss or convert this case to

10   chapter 7 under section 1112(e).
11          17.     “Cause” to dismiss or convert a chapter 11 case is established under section
12
     1112(b)(4)(H) when a debtor fails to provide information or attend meetings reasonably
13
     requested by the United States Trustee. See 11 U.S.C. § 1112(b)(4)(H); see also Andover
14
15   Covered Bridge, LLC, 553 B.R. 162, 174 (B.A.P. 1st Cir. 2016).

16          18.     Here, the United States Trustee requested information and documentation from
17   Debtor for the IDI, and Debtor has failed to provide these items to date. See Kinne Decl. Debtor
18
     also failed to attend the initial IDI scheduled for April 13, 2023 or appear for the continued IDI
19
     scheduled for May 15, 2023 that was scheduled by the United States Trustee in this case. Id.
20
21          19.     Cause thus exists to dismiss or convert this case under section 1112(b)(4)(H). See

22   In re CA Fin. Sols., 2019 WL 2869566, at *9 (Bankr. D. Haw. July 1, 2019) (finding cause where
23   debtor failed to provide documentation requested by the United States Trustee).
24
            B.      Cause is established under 11 U.S.C. § 1112(b)(4)(G) because Debtor has
25                  failed to attend the meeting of creditors convened under 11 U.S.C. § 341(a)
                    without good cause shown.
26
27          20.     “Cause” to dismiss or convert a chapter 11 case may be established under section

28   1112(b)(4)(G) when a debtor fails to attend the meeting of creditors convened under section

                                                     Page -5-
            Case 23-11160-abl          Doc 135
                                           133      Entered 06/21/23 17:12:59
                                                                     16:14:52         Page 9
                                                                                           6 of 19
                                                                                                12




 1   341(a) without good cause shown. See 11 U.S.C. § 1112(b)(4)(G); In re Merriam, 250 B.R. 724
 2   738 (Bankr. D. CO. 2000) (failure to attend the section 341 meeting can result in case dismissal);
 3
     In re Shawver, 2000 WL 33673756 (Bankr. M.D. N.C. July 17, 2000) (same).
 4
            21.       In this case, the first meeting of creditors was scheduled for April 27, 2023,
 5
 6   continued several times, and is presently continued to June 30, 2023. See ECF Docket generally.

 7   Although Debtor’s representative appeared for the first two settings of the first meeting of
 8   creditors in this case, its designated responsible individual failed to appear for the most recent
 9
     setting on June 9, 2023. Id.
10
            22.       Therefore, cause exists to dismiss or convert this case under section
11
12   1112(b)(4)(G).

13          C.        Cause exists under 11 U.S.C. § 1112(b)(4)(F) because Debtor has failed to file
                      MORs for the months of April and May 2023.
14
15          23.       “Cause,” as used in section 1112(b)(1), is defined in pertinent portions of section

16   1112(b)(4) as follows:
17                    For purposes of this subsection, the term ‘cause’ includes—
18
                      ...
19
                      (F) unexcused failure to satisfy timely any filing or reporting requirement
20
21                    established by this title or by any rule applicable to a case under this chapter;

22                    ...
23   11 U.S.C. §§ 1112(b)(1)and (b)(4)(F).
24
            24.       Here, it is undisputed that Debtor has failed to file MORs in this case for the
25
     months of April and May 2023. 2 See ECF Docket generally; see also Kinne Decl. These MORs
26
27
     2
28     The United States Trustee reserves her rights to supplement this Motion to include the failure to
     file an MOR for June 2023 if one is not filed on or before July 21, 2023.
                                                      Page -6-
           Case
           Case23-11160-abl
                23-11160-abl Doc
                             Doc135
                                 133 Entered
                                     Entered06/21/23
                                             06/21/2317:12:59
                                                      16:14:52 Page
                                                               Page10
                                                                    7 of
                                                                      of12
                                                                         19




 1   are required by the Bankruptcy Court and Rules, as well as applicable United States Trustee
 2   Guidelines. 3 As other Courts have held, monthly reports and the financial disclosures contained
 3
     in them “are the life blood of the chapter 11 process” and are more than “mere busy work.” YBA
 4
     Nineteen, LLC, 505 B.R. at 303 (citation omitted). See also In re Berryhill, 127 B.R. 427, 433
 5
 6   (Bankr. N.D. Ind. 1991) (citation omitted).

 7          25.       Even if Debtor were to now bring its MORs current, Debtor’s delay in filing
 8   would itself constitute cause to dismiss or convert this case under section 1112(b). 4 Cause, as
 9
     defined in section 1112(b), includes the “unexcused failure to satisfy timely any filing or
10
     reporting requirement.” 11 U.S.C. § 1112(b)(4)(F) (emphasis added). In re Babayoff, 445 B.R.
11
12   64, 81 (Bankr. E.D.N.Y. 2011) (finding cause to dismiss or convert under section 1112(b) where

13   debtor filed multiple MORs “in a single batch, weeks or months late”)).
14          26.       Accordingly, cause exists to dismiss or convert this case under section
15
     1112(b)(4)(F).
16
     ///
17
18
19
20
     3
21     The applicable United States Trustee Guidelines (“Guidelines”) provide that each chapter 11
     Debtor “shall file with the court and contemporaneously serve on the United States Trustee a
22   report for every calendar month or portion thereof during which the case is pending.” See
     https://www.justice.gov/ust-regions-r17/region-17-general-information#ch11. See also In re
23   Whetten, 473 B.R. 380, 383 (Bankr. D. Colo. 2012) (“[t]he UST is charged with supervising the
24   administration of chapter 11 cases, including a debtor’s performance of its statutory and fiduciary
     responsibilities. 28 U.S.C. § 586(a)(3). To perform this role, the UST has adopted reporting
25   requirements embodied in its guidelines, which a debtor-in-possession is required to fulfill.”). In
     addition, Fed. R. Bankr. P. 2015(a)(2) and (3) require the filing of periodic reports as the United
26   States Trustee requires.
27   4
      Given Debtor’s failure to file operating reports, the United States Trustee reserves her rights to
28   supplement her Motion in the event that Debtor tardily files a report that supports cause for
     conversion or dismissal under section 1112(b)(4)(A).
                                                     Page -7-
            Case
            Case23-11160-abl
                 23-11160-abl Doc
                              Doc135
                                  133 Entered
                                      Entered06/21/23
                                              06/21/2317:12:59
                                                       16:14:52 Page
                                                                Page11
                                                                     8 of
                                                                       of12
                                                                          19




 1           D.      Once cause is established, Debtor has the burden of establishing all elements
                     of the statutory defenses available under 11 U.S.C. § 1112(b)(2).
 2
 3           27.     Once “cause” is established, the burden then shifts to the debtor to demonstrate

 4   that § 1112(b)(2) precludes relief under section 1112(b)(1). In re Sanders, 2013 Bankr. LEXIS
 5   4681 at *18-19 (B.A.P. 9th Cir. April 11, 2013).
 6
             28.     The only exception to conversion or dismissal would be if the bankruptcy court
 7
     specifically identifies “unusual circumstances . . . that establish that such relief is not in the best
 8
 9   interest of creditors and the estate.” See 11 U.S.C. § 1112(b)(1). For the exception to apply: (1)

10   the debtor must prove and the bankruptcy court must “find and specifically identify” that
11   “unusual circumstances” exist to show that conversion or dismissal is not in the best interest of
12
     creditors and the estate; and (2) the debtor must prove that the cause for conversion or dismissal
13
     was reasonably justified, and that the basis for dismissal or conversion can be “cured” within a
14
15   reasonable time. See Warren v. Young (In re Warren), 2015 Bankr. LEXIS 1775 at *11-12

16   (B.A.P. 9th Cir. May 28, 2015). As noted, the debtor bears the burden of proving that unusual
17   circumstances are present in the case that render dismissal or conversion not in the best interest
18
     of creditors or the estate. In re Sanders, 2013 Bankr. LEXIS 4681 at *18-19.
19
             29.     In addition to establishing unusual circumstances, a debtor or other respondents
20
21   seeking to avoid conversion or dismissal must establish the requirements set forth in section

22   1112(b)(2)(A)–(b)(2)(B). Section 1112(b)(2) provides:
23                  . . . and the debtor or any other party in interest establishes that–
24                            (A) there is a reasonable likelihood that a plan will be confirmed
                              within the timeframes established in sections 1121(e) and 1129(e) of
25                            this title, or if such sections do not apply, within a reasonable period
                              of time; and
26                            (B) the grounds for converting or dismissing the case include an act
27                            or omission of the debtor other than under paragraph (4)(A)
                                       (I) for which there exists a reasonable justification for the act
28                                     or omission; and

                                                      Page -8-
            Case
            Case23-11160-abl
                 23-11160-abl Doc
                              Doc135
                                  133 Entered
                                      Entered06/21/23
                                              06/21/2317:12:59
                                                       16:14:52 Page
                                                                Page12
                                                                     9 of
                                                                       of12
                                                                          19




 1                                  (ii) that will be cured within a reasonable period of time fixed
                                    by the court.
 2
 3   11 U.S.C. § 1112(b)(2) (emphasis added).

 4          30.     Importantly, Debtor must establish each of the statutory elements set forth under
 5   section 1112(b)(2) because the statute is written in the conjunctive. In re Om Shivai, Inc. 447
 6
     B.R. 459, 465 (Bankr. D.S.C. 2011); Landmark Atlantic Hess Farm, LLC, 448 B.R. 707, 717
 7
     (Bankr. D. Md. 2011).
 8
 9          31.     The record does not disclose any unusual circumstances that would establish

10   justification against granting the relief requested in the Motion.
11                  i.       Conversion appears to be the appropriate remedy in this case.
12
            32.     In deciding on whether dismissal or conversion of a chapter 11 case to a case
13
     under chapter 7 is in the best interests of a debtor’s creditors and bankruptcy estate, courts
14
15   generally look to and apply a series of factors in determining which form of relief under section

16   1112(b)(1) is appropriate once cause for relief has been established:
17                  (1) Whether some creditors received preferential payments, and whether equality
18                  of distribution would be better served by conversion rather than dismissal.

19                  (2) Whether there would be a loss of rights granted in the case if it were dismissed
                    rather than converted.
20
21                  (3) Whether the debtor would simply file a further case upon dismissal.

22                  (4) The ability of the trustee in a chapter 7 case to reach assets for the benefit of
                    creditors.
23
24                  (5) In assessing the interest of the estate, whether conversion or dismissal of the
                    estate would maximize the estate’s value as an economic enterprise.
25
                    (6) Whether any remaining issues would be better resolved outside the bankruptcy
26                  forum.
27
                    (7) Whether the estate consists of a “single asset.”
28

                                                     Page -9-
            Case 23-11160-abl        Doc 135
                                         133      Entered 06/21/23 17:12:59
                                                                   16:14:52         Page 13
                                                                                         10 of 19
                                                                                               12




 1                  (8) Whether the debtor had engaged in misconduct and whether creditors are in
                    need of a chapter 7 case to protect their interests.
 2
 3                  (9) Whether a plan has been confirmed and whether any property remains in the
                    estate to be administered.
 4
                    (10) Whether the appointment of a trustee is desirable to supervise the estate and
 5                  address possible environmental and safety concerns.
 6
     See Rand v. Porsche Fin. Servs., 2010 Bankr. LEXIS 5076, 2010 WL 6259960, *10 n.14 (B.A.P.
 7
     9th Cir. Dec. 7, 2010) (citing 7 Collier on Bankruptcy ¶ 1112.04[7] (Alan N. Resnick & Henry J.
 8
 9   Sommer, eds., 16th ed., 2010)).

10          33.     Conversion of the above-captioned case appears to be the appropriate remedy for
11   several reasons. First, a chapter 7 trustee should be appointed to ensure that Debtor’s required
12
     schedules and statements are filed in this case. Creditors and parties in interest are not yet able to
13
     determine whether Debtor has assets that can be liquidated and administered for the benefit of
14
15   unsecured creditors (many unsecured creditors have filed proofs of claim in this case), and a

16   chapter 7 trustee can investigate that matter. Second, it may be beneficial for a chapter 7 trustee
17   to evaluate and pursue possible state and federal court litigation claims on behalf of the estate, if
18
     determined to be meritorious. And finally, there may be avoidance actions that warrant
19
     investigation by a chapter 7 trustee for the possible benefit of unsecured creditors.
20
21          34.     In the alternative, the United States Trustee does not object to the Court

22   dismissing the case if the Court ultimately determines that such relief is in the best interests of
23   Debtor’s creditors and the estate.
24
            III.    CONCLUSION
25
            WHEREFORE, the United States Trustee requests that the Court enter an order (a)
26
27   granting the Motion; (b) converting this case to chapter 7, or in the alternative, dismissing the

28

                                                    Page -10-
            Case 23-11160-abl        Doc 135
                                         133      Entered 06/21/23 17:12:59
                                                                   16:14:52         Page 14
                                                                                         11 of 19
                                                                                               12




 1   case, if the Court ultimately determines that such relief is in the best interests of Debtor’s
 2   creditors and the estate; and (c) granting such other relief as is just under the circumstances.
 3
 4
            Date: June 21, 2023                             Respectfully Submitted,
 5
 6                                                          TRACY HOPE DAVIS
                                                            UNITED STATES TRUSTEE
 7
                                                    By:     /s/ Jared A. Day
 8                                                          Jared A. Day
 9                                                          Trial Attorney for the United States Trustee

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    Page -11-
             Case 23-11160-abl       Doc 135
                                         133     Entered 06/21/23 17:12:59
                                                                  16:14:52         Page 15
                                                                                        12 of 19
                                                                                              12




 1                                     CERTIFICATE OF SERVICE
 2          I, ANABEL ABAD SANTOS, under penalty of perjury declare: That declarant is, and was
 3   when the herein described service took place, a citizen of the United States, over 18 years of age,
     and not a party to nor interested in, the within action; that on June 21, 2023, I caused a copy of the
 4   foregoing
 5   MOTION OF THE UNITED STATES TRUSTEE, UNDER 11 U.S.C. § 1112(b), AND
 6   FEDERAL RULES OF BANRUPTCY PROCEDURE 1017(f) AND 9014, TO DISMISS OR
     CONVERT CHAPTER 11 CASE
 7
     to be served on the following parties:
 8
 9   ㍪
     ㍩
     ㍨       a. ECF System (attach Notice of Electronic Filing or list of persons & addresses):

10       x   PAUL N. ANDONIAN pandonian@hrhlaw.com
         x   OGONNA M. BROWN obrown@lewisroca.com, ogonna-brown-
11
             4984@ecf.pacerpro.com,dberhanu@lewisroca.com,ombcalendar@lewisroca.com;jhess@le
12           wisroca.com,klopez@lewisroca.com,rcreswell@lewisroca.com
         x   ANDREW CUMMINGS andrew.cummings@hklaw.com
13       x   LARS EVENSEN lkevensen@hollandhart.com,
             blschroeder@hollandhart.com;intaketeam@hollandhart.com
14
         x   JOHN A FORTIN jfortin@mcdonaldcarano.com,
15           kkirn@mcdonaldcarano.com,bgrubb@mcdonaldcarano.com
         x   MICHAEL M. LIN LINLAWGROUP@GMAIL.COM,
16           linmr91809@notify.bestcase.com
         x   NATHAN F. SMITH nathan@mclaw.org, C201@ecfcbis.com
17
         x   U.S. TRUSTEE - LV - 11 USTPRegion17.lv.ecf@usdoj.gov
18       x   JOSEPH G. WENT jgwent@hollandhart.com,
             blschroeder@hollandhart.com;IntakeTeam@hollandhart.com
19       x   RYAN J. WORKS rworks@mcdonaldcarano.com,
             kkirn@mcdonaldcarano.com;bgrubb@mcdonaldcarano.com
20
         x   MATTHEW C. ZIRZOW mzirzow@lzlawnv.com,
21           carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;valentina@lzlawnv.com;z
             irzow.matthewc.r99681@notify.bestcase.com
22
23   ㍪
     ㍩
     ㍨       b. U.S. Mail, postage fully prepaid (see separate BNC Certificate of Service):

24           I declare under penalty of perjury that the foregoing is true and correct.
25           Signed: June 21, 2023
26
             /s/ Anabel Abad Santos
27           Anabel Abad Santos
28

                                                    Page -12-
               Case
                Case23-11160-abl
                     23-11160-abl Doc
                                   Doc135
                                       134 Entered
                                            Entered06/21/23
                                                    06/21/2317:12:59
                                                             16:58:59 Page
                                                                       Page16
                                                                            1 of 19
                                                                                 4



 1   Terri H. Didion, Assistant United States Trustee
     State Bar No. CA 133491
 2   Jared A. Day, Trial Attorney
 3   State Bar No. CA 275687
     UNITED STATES DEPARTMENT OF JUSTICE
 4   Office of the United States Trustee
     300 Las Vegas Boulevard South, Suite 4300
 5   Las Vegas, Nevada 89101
 6   Telephone: (775) 784-5530
     Fax: (775) 784-5531
 7   E-mail: jared.a.day@usdoj.gov
 8   Attorneys for the United States Trustee for Region 17
 9   TRACY HOPE DAVIS

10                               UNITED STATES BANKRUPTCY COURT

11                                         DISTRICT OF NEVADA
      In re:
12                                                         Case No: 23-11160-abl
13    BANDAR ENTERPRISES, LLC,
                                                           Chapter 11
14                                                         Date: July 26, 2023
                                         Debtor.           Time: 1:30 p.m.
15
                                                           Place: Telephonic
16
17                      DECLARATION OF KRISTINE R. KINNE IN SUPPORT OF
                      MOTION OF THE UNITED STATES TRUSTEE UNDER 11 U.S.C.
18
                    § 1112(b) AND FEDERAL RULES OF BANKRUPTCY PROCEDURE
19                   1017(f) AND 9014 TO DISMISS OR CONVERT CHAPTER 11 CASE

20             I, Kristine R. Kinne, declare as follows:
21
               1.      I am employed as a Bankruptcy Analyst in the Reno, Nevada Office of the United
22
     States Trustee, Region 17 (“United States Trustee”).
23
               2.      I am the Bankruptcy Analyst assigned to the above-captioned chapter 11 case. I
24
25   have personal knowledge of the facts set forth herein. To the extent I base my testimony upon

26   information and belief or upon admissible evidence other than my personal knowledge, I will
27
     specifically so state.
28
            Case
             Case23-11160-abl
                  23-11160-abl Doc
                                Doc135
                                    134 Entered
                                         Entered06/21/23
                                                 06/21/2317:12:59
                                                          16:58:59 Page
                                                                    Page17
                                                                         2 of 19
                                                                              4




 1          3.      The United States Trustee is an official of the United States Department of Justice,
 2   charged by statute with the duty to oversee and supervise the administration of bankruptcy cases
 3
     and take action to ensure that all reports, schedules, and fees required under Title 11 are properly
 4
     and timely filed pursuant to 28 U.S.C. § 586. As part of my duties as a Bankruptcy Analyst, I am
 5
 6   responsible for the supervision of chapter 11 cases in the Office of the United States Trustee,

 7   Region 17. This supervision includes: monitoring chapter 11 cases; reviewing petitions,
 8   schedules, statements and related documents, and pleadings filed by a chapter 11 debtor and
 9
     other parties in interest; conducting the Initial Debtor Interview (“IDI”) and requesting
10
     documents related to the IDI; reviewing Monthly Operating Reports (“MORs”); monitoring plans
11
12   and disclosure statements; and other such other actions as the United States Trustee deems

13   appropriate.
14          4.      This declaration is based upon facts of which I have personal knowledge, as well
15
     as judicially-noticeable facts, such as filing dates, apparent from the court’s records in this
16
     proceeding. This declaration is made in my official capacity as a representative of the United
17
18   States Trustee, without waiving the attorney client privilege or the work product privilege.

19          5.      On March 31, 2023, the United States Trustee sent an e-mail to Debtor’s general
20   bankruptcy counsel scheduling a telephonic IDI for April 13, 2023 and requesting that standard
21
     documentation be provided to the United States Trustee for the IDI no later than April 6, 2023.
22
            6.      On April 27, 2023, I sent another e-mail to Debtor’s general bankruptcy counsel
23
24   continuing the IDI to May 15, 2023 due to Debtor’s pending motion to extend time to file its

25   required schedules and statements. As none of the standard IDI documentation had been
26   provided, I requested that it be provided to the United States Trustee for the continued IDI no
27
     later than May 4, 2023.
28

                                                     Page -2-
           Case
            Case23-11160-abl
                 23-11160-abl Doc
                               Doc135
                                   134 Entered
                                        Entered06/21/23
                                                06/21/2317:12:59
                                                         16:58:59 Page
                                                                   Page18
                                                                        3 of 19
                                                                             4




 1          7.      On May 12, 2023, I sent a follow-up e-mail to Debtor’s general bankruptcy
 2   counsel indicating that the documentation requested by the United States Trustee for the IDI
 3
     remained outstanding.
 4
            8.      Despite these repeated requests and reminders, Debtor failed to provide any
 5
 6   information and documentation reasonably requested by the United States Trustee in anticipation

 7   of the IDI, appear for the initial IDI scheduled for April 13, 2023, or appear for the continued IDI
 8   scheduled for May 15, 2023, in this case.
 9
            9.      Based upon my review of the Court’s official ECF docket in the above-captioned
10
     case, I have determined that Debtor has not filed its first two MORs for the months of April and
11
12   May 2023 in this case. See ECF Docket generally.

13          I declare under penalty of perjury that the foregoing statements are true and correct.
14          Executed in Reno, Nevada on June 21, 2023.
15
                                                                  /s/ Kristine Kinne
16                                                                Kristine Kinne
                                                                  Bankruptcy Analyst
17                                                                for the United States Trustee
18
19
20
21
22
23
24
25
26
27
28

                                                    Page -3-
             Case
              Case23-11160-abl
                   23-11160-abl Doc
                                 Doc135
                                     134 Entered
                                          Entered06/21/23
                                                  06/21/2317:12:59
                                                           16:58:59 Page
                                                                     Page19
                                                                          4 of 19
                                                                               4




 1                                     CERTIFICATE OF SERVICE
 2          I, ANABEL ABAD SANTOS, under penalty of perjury declare: That declarant is, and was
 3   when the herein described service took place, a citizen of the United States, over 18 years of age,
     and not a party to nor interested in, the within action; that on June 21, 2023, I caused a copy of the
 4   foregoing
 5   DECLARATION OF KRISTINE R. KINNE IN SUPPORT OF MOTION OF THE UNITED
 6   STATES TRUSTEE, UNDER 11 U.S.C. § 1112(b), AND FEDERAL RULES OF
     BANRUPTCY PROCEDURE 1017(f) AND 9014, TO DISMISS OR CONVERT CHAPTER
 7   11 CASE
 8   to be served on the following parties:
 9
     ㍪
     ㍩
     ㍨       a. ECF System (attach Notice of Electronic Filing or list of persons & addresses):
10
         x   PAUL N. ANDONIAN pandonian@hrhlaw.com
11
         x   OGONNA M. BROWN obrown@lewisroca.com, ogonna-brown-
12           4984@ecf.pacerpro.com,dberhanu@lewisroca.com,ombcalendar@lewisroca.com;jhess@le
             wisroca.com,klopez@lewisroca.com,rcreswell@lewisroca.com
13       x   ANDREW CUMMINGS andrew.cummings@hklaw.com
         x   LARS EVENSEN lkevensen@hollandhart.com,
14
             blschroeder@hollandhart.com;intaketeam@hollandhart.com
15       x   JOHN A FORTIN jfortin@mcdonaldcarano.com,
             kkirn@mcdonaldcarano.com,bgrubb@mcdonaldcarano.com
16       x   MICHAEL M. LIN LINLAWGROUP@GMAIL.COM,
             linmr91809@notify.bestcase.com
17
         x   NATHAN F. SMITH nathan@mclaw.org, C201@ecfcbis.com
18       x   U.S. TRUSTEE - LV - 11 USTPRegion17.lv.ecf@usdoj.gov
         x   JOSEPH G. WENT jgwent@hollandhart.com,
19           blschroeder@hollandhart.com;IntakeTeam@hollandhart.com
         x   RYAN J. WORKS rworks@mcdonaldcarano.com,
20
             kkirn@mcdonaldcarano.com;bgrubb@mcdonaldcarano.com
21       x   MATTHEW C. ZIRZOW mzirzow@lzlawnv.com,
             carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;valentina@lzlawnv.com;z
22           irzow.matthewc.r99681@notify.bestcase.com
23
     ㍪
     ㍩
     ㍨       b. U.S. Mail, postage fully prepaid (see separate BNC Certificate of Service):
24
             I declare under penalty of perjury that the foregoing is true and correct.
25
26           Signed: June 21, 2023

27           /s/ Anabel Abad Santos
             Anabel Abad Santos
28

                                                     Page -4-
